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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

UNITED STATES OF AMERICA                      )
                                              )
V.                                            )    Criminal No. 3:17CR83-HEH
                                              )
VICTOR M. DANDRIDGE, Ill,                     )
                                              )
        Petitioner.                           )

                             MEMORANDUM OPINION
            (Granting in Part and Denying in Part 28 U.S.C. § 2255 Motion)

        Victor M. Dandridge, III ("Petitioner"), a federal inmate proceeding pro se, filed

this motion under 28 U.S.C. § 2255 to vacate, set aside, or correct his sentence.

Petitioner asserts that he is entitled to relief on the following grounds:

        Claim I        "Counsel told me that I could not file an appeal in a meeting shortly
                       after I had been remanded." (ECF No. 34 at 14.) 1

        Claim 2        "Counsel did not question the statute under which the only victim
                       testifying at my sentencing" was not required to be "sworn in." (Id.)

        Claim 3        "Counsel failed to object to knowingly false testimony made by the
                       aforementioned victim at my sentencing." (Id)

        Claim 4        "Counsel did not adhere to my repeated request for a binding Plea
                       Agreement." (Id)

        Claim 5        "Counsel did not adhere to my request for a complete and detailed
                       account for arriving at the restitution amount for my primary victim.
                       Additionally, counsel told me to sign the Restitution Agreement
                       presented to him moments before the Court began at my sentencing
                       hearing without reviewing it and explaining it to me." (Id.)


1
  The Court employs the pagination assigned by the CM/ECF docketing system to all citations in
the record. The Court corrects the capitalization, punctuation, and spelling in the quotations
from the parties' submissions.
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                            I. Pertinent Procedural History

      Petitioner pled guilty to a three-count Criminal Information charging him with two

counts of wire fraud, and one count of bank fraud. (EOF No. 11 at 1.) As part of his Plea

Agreement, Petitioner waived the right to appeal. {Id. at 4.) On November 9,2017,the

Court sentenced Petitioner to 84 months ofimprisonment. (ECF No. 26.) At the

conclusion ofthe sentencing hearing, the Court remanded Petitioner into the custody of

the Marshal. (ECF No. 33 at 48^9.)

                     II. Pertinent Evidence Relevant to Claim 1


      Petitioner swears that he "had relied on the fact that he could self-surrender to the

Bureau ofPrisons as it had been discussed on several occasions." (ECF No.74 at 4.)

             Based on these assurances. Defendant was shocked and panicked to
      being immediately remanded. It was in this context that Defendant
      broached an appeal - strictly along these lines - and prior to requesting an
      appeal. Defendant and counsel discussed an appeal with respect to being
      able to self-surrender (as Defendant is unfamiliar with law and lacks formal
      education as a lawyer, he was unaware if being remanded was an issue that
      could be appealed). At this point, I asked if we could appeal the fact that I
      was not allowed to self-surrender and counsel replied,"No." I said,"I want
      to appeal my sentence .. . can we appeal anything ... I want to appeal."
      Counsel replied,"There is nothing to appeal, nothing we can do."
             While this dialogue included Defendant's desire to self-surrender -
      again which was the sole issue to appeal - and the discussion that took
      place with Counsel up until this point only concerning the ability to self-
      surrender, this is likely the issue that counsel responded to.... This was
      the only time an appeal was discussed as I would have no reason to doubt
      my counsel's answers....

              Defendant had perfect clarity at these junctures on that day.... I
      had expected to self-surrender. I was in a state of shock and unbelief. My
      recollection of these conversations and the situations in which they
      occurred are perfectly clear. It was my contention and desire to appeal the
      ability to self-surrender....
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(ECF No. 74 at 4-6.)

        In response, Petitioner's trial counsel, Francis McQuaid Lawrence, swears, in

pertinent part that:

                I did not and would not have told Mr. Dandridge that he could not
        file an appeal. I am and always have been keenly aware that the decision of
        whether to appeal or not rests with the client, not the lawyer. I could have,
        and likely told him, that no such appeal would have had any possibility of
        success and that the attempt to appeal could have been viewed as a failure
        to accept responsibility for his actions, which could have resulted in
        potentially more incarceration.

(ECF No. 69-1 at I.)

                                        III. Analysis

        The standard set forth by the Supreme Court of the United States in Strickland v.

Washington governs claims of ineffective assistance of counsel. 466 U.S. 668 (1984). In

Strickland, the Supreme Court held that the Sixth Amendment2 guaranteed a criminal

defendant's right to reasonably effective assistance of counsel. Id. at 687. To prove a

constitutional claim for ineffective assistance of counsel, the petitioner must first show

that his or her counsel's representation "fell below an objective standard of

reasonableness." Id. at 688. Second, the petitioner must demonstrate actual prejudice

from the deficiency. Id. at 694.

        In conjunction with Strickland, the decision of the Supreme Court in Roe v.

Flores-Ortega governs ineffective assistance of counsel claims for failure to file a notice

of appeal. See 528 U.S. 470 (2000). In Flores-Ortega, the Supreme Court held that:


2
 "In all criminal prosecutions, the accused shall enjoy the right ... to have the Assistance of
Counsel for his defence." U.S. Const. amend. VI.

                                               3
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       [C]ounsel has a constitutionally imposed duty to consult with the defendant
       about an appeal when there is reason to think either ( 1) that a rational
       defendant would want to appeal (for example, because there are
       nonfrivolous grounds for appeal), or (2) that this particular defendant
       reasonably demonstrated to counsel that he was interested in appealing.

Id. at 480. This determination must take into account "all the information counsel knew

or should have known." Id.

       If a consultation about appeal has occurred, counsel performs deficiently "only by

failing to follow the defendant's express instructions with respect to an appeal." Id. at

478. "[A] criminal defense attorney's failure to file a notice of appeal when requested by

his client deprives the defendant of his Sixth Amendment right to the assistance of

counsel, notwithstanding that the lost appeal may not have had a reasonable probability

of success." United States v. Peak, 992 F.2d 39, 42 (4th Cir. 1993). Moreover, "an

attorney is required to file a notice of appeal when unequivocally instructed to do so by

his client, even if doing so would be contrary to the plea agreement [because the

defendant has waived his right to appeal] and harmful to the client's interests." United

States v. Poindexter, 492 F.3d 263,273 (4th Cir. 2007).

       If the attorney received no express instruction to file a notice of appeal, and no

consultation has occurred, a court must determine ''whether counsel's failure to consult

with the defendant itself constitutes deficient performance." Flores-Ortega, 528 U.S. at

478. The prejudice prong of Strickland requires "that counsel's deficient performance

must actually cause the forfeiture of the defendant's appeal. If the defendant cannot

demonstrate that, but for counsel's deficient performance, he would have appealed,

counsel's deficient performance has not deprived him of anything, and he is not entitled

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to relief." Id. at 484. "Thus, to prevail on an ineffective assistance claim for failing to

note an appeal, a defendant need not 'demonstrate that his hypothetical appeal might have

had merit,' but rather only that 'but for counsel's deficient conduct, he would have

appealed."' Jiminez v. Vaughan, No. 3:07cv639, 2008 WL 2329767, at *3 (E.D. Va.

June 5, 2008) (quoting Flores-Ortega, 528 U.S. at 486).

        From the evidence before the Court, there appears to be a dispute of fact as to

whether Petitioner unequivocally directed counsel to file an appeal. Nevertheless, the

undisputed evidence reflects that Petitioner "reasonably demonstrated to counsel that he

was interested in appealing." Flores-Ortega, 528 U.S. at 480. Thus, counsel was obliged

to consult with Petitioner about filing an appeal. Id. "Consult," as defined by the

Supreme Court, means to advise "the defendant about the advantages and disadvantages

of taking an appeal, and [make] a reasonable effort to discover the defendant's wishes."

Id. at 4 78. According to Petitioner, this never occurred. 3 Moreover, the current record

supports the conclusion that had counsel consulted with him about an appeal, Petitioner

would have pursued an appeal. Accordingly, the Court will grant Petitioner's 28 U.S.C.

§ 2255 Motion with respect to Claim 1. The Court will deny the 28 U.S.C. § 2255

Motion with respect to Petitioner's remaining claims and dismiss those claims without

prejudice. See United States v. Killian, 22 F. App'x 300, 301 (4th Cir. 2001) (concluding

that "[t]he district court should have dismissed the remaining claims without prejudice to

[the petitioner's] right to file another habeas motion, if necessary, after a direct appeal).


3
  Counsel has no recollection of whether Petitioner expressed a desire to appeal or whether he
consulted with Petitioner about an appeal after Petitioner was sentenced.

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       The proper remedy for Claim 1 is to vacate Petitioner's "judgment of conviction

and enter a new judgment from which an appeal can be taken."Peak,992 F.2d at 42

(citation omitted). The Clerk will be directed to appoint the Federal Public Defender to

represent Petitioner with respect to whether Petitioner wishes to pursue a direct appeal.

See Killian, 22 F. App'x at 301.

       Petitioner is hereby advised that he has the right to appeal his criminal case to the

United States Fourth Circuit Court of Appeals. Should Petitioner choose to appeal, he

must file a Notice of Appeal with the Clerk of Court within fourteen (14)calendar days

after the date the new Judgment of conviction is filed or within fourteen(14)calendar

days after any government appeal is filed, whichever is later. Fed. R. App.P. 4(b)(1)(A).

Counsel for Petitioner is directed to promptly provide this Memorandum Opinion and

Order to Petitioner and ascertain whether Petitioner wishes to pursue an appeal.

       An appropriate Order will accompany this Memorandum Opinion.


                                                                  /s/
                                                  Henry E. Hudson
                                                  Senior United States District Judge
Date: NcUMjZoil
Richmond, Virginia
